Case 1:23-cv-00108-LMB-JFA Document 908-1 Filed 07/17/24 Page 1 of 35 PageID# 21458




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA DIVISION


   UNITED STATES, et al.,

                             Plaintiffs,

               v.                                  No. 1:23-cv-00108-LMB-JFA

   GOOGLE LLC,

                             Defendant.


        MEMORANDUM OF LAW IN SUPPORT OF GOOGLE LLC’S MOTION TO
             EXCLUDE THE TESTIMONY OF DR. TIMOTHY SIMCOE
Case 1:23-cv-00108-LMB-JFA Document 908-1 Filed 07/17/24 Page 2 of 35 PageID# 21459




                                                       TABLE OF CONTENTS

                                                                                                                                           Page

   TABLE OF AUTHORITIES .......................................................................................................... ii
   INTRODUCTION .......................................................................................................................... 1
   BACKGROUND AND SUMMARY OF SIMCOE’S OPINIONS................................................ 3
   LEGAL STANDARD ..................................................................................................................... 8
   ARGUMENT ................................................................................................................................ 10
   I.    Simcoe Should Be Precluded From Offering Testimony About A “Predicted” 10
           Percent But-For Revenue Share. ....................................................................................... 10
              A.         Having Disclaimed Any Opinion Based On It, Simcoe’s “Predicted” 10
                         Percent But-For Revenue Share Is Not Helpful to the Jury. ................................. 10

              B.         The “Predicted” 10 Percent But-For Revenue Share Is Not Supported By
                         A Reliable Methodology. ...................................................................................... 12

   II. Simcoe’s Comparables Approach Should Be Excluded Because It Is Not The Product
          of A Reliable Methodology. ............................................................................................. 14
              A.         The Comparables Approach Selects Comparator Firms In An Arbitrary
                         and Unsupported Manner. ..................................................................................... 15

              B.         The Comparables Approach Fails to Control For Differences That Could
                         Explain Differences In Prices Charged By AdX and Third-Party
                         Exchanges. ............................................................................................................ 17

   III. Simcoe’s Event Study Should Be Excluded Because It Does Not Reliably Control
          For The Procompetitive Effects of AdX’s Transition to Unified First Price
          Auctions. ........................................................................................................................... 22
   IV. Simcoe’s Apportionment Analysis Must Be Excluded Because it is Premised on the
         Fundamentally Flawed Assumption that FAAs are “Representative Advertisers.” ......... 24
   V. Simcoe’s Opinions Must Be Excluded In Whole If Any Conduct He Removed From
        His But-For World Is Held To Be Lawful. ....................................................................... 27
   VI. Simcoe’s Opinions Must Be Excluded In Whole If The Court Grants Google’s
         Motion to Exclude the Testimony of Dr. Robin Lee. ....................................................... 28
   CONCLUSION ............................................................................................................................. 29




                                                                          i
Case 1:23-cv-00108-LMB-JFA Document 908-1 Filed 07/17/24 Page 3 of 35 PageID# 21460




                                                  TABLE OF AUTHORITIES

                                                                                                                                 Page(s)

   Cases

   ATA Airlines, Inc. v. Fed. Ex. Corp.,
      665 F.3d 882 (7th Cir. 2011) ...................................................................................................12

   Blue Cross & Blue Shield United of Wisconsin v. Marshfield Clinic,
      152 F.3d 588 (7th Cir. 1998) .............................................................................................19, 28

   Bouygues Telecom, S.A. v. Tekelec,
      2007 WL 4699237 (E.D.N.C. Feb. 5, 2007) ............................................................................12

   In re Cathode Ray Tube (CRT) Antitrust Litig.,
       2017 WL 10434367 (N.D. Cal. Jan. 23, 2017) ........................................................................28

   CDW LLC v. NETech Corp.,
     906 F. Supp. 2d 815 (S.D. Ind. 2012) ......................................................................................21

   Cede & Co. v. Technicolor, Inc.,
      2003 WL 23700218 (Del. Ch. Dec. 31, 2003), aff’d in part, rev’d in part on
      other grounds, 884 A.2d 26 (Del. 2005) ..................................................................................12

   City of Rockford v. Mallinckrodt ARD, Inc.,
       2024 WL 1363544 (N.D. Ill. Mar. 29, 2024) .........................................................14, 16, 19, 28

   Columbia Gas Transmission, LLC v. 171.54 Acres of Land,
      2023 WL 9272553 (S.D. Ohio Nov. 9, 2023)..........................................................................12

   Comcast Corp. v. Behrend,
     569 U.S. 27 (2013) ...................................................................................................................28

   Daubert v. Merrell Dow Pharms., Inc.,
      509 U.S. 579 (1993) .................................................................................................................10

   Devito v. Smithkline Beecham Corp.,
      2004 WL 3691343 (N.D.N.Y. Nov. 29, 2004) ........................................................................11

   Doctor’s Data, Inc. v. Barrett,
      2017 WL 11885711 (N.D. Ill. Mar. 31, 2017) .........................................................................19

   El Aguila Food Prods., Inc. v. Gruma Corp.,
       131 F. App’x 450 (5th Cir. 2005) ............................................................................................16

   El Aguila Food Prods., Inc. v. Gruma Corp., Inc.,
       301 F. Supp. 2d 612 (S.D. Tex. 2003), aff’d, 131 F. App’x 450 (5th Cir. 2005) ....................27


                                                                       ii
Case 1:23-cv-00108-LMB-JFA Document 908-1 Filed 07/17/24 Page 4 of 35 PageID# 21461

                                                                                                                                 Page(s)


   Eleven Line, Inc. v. N. Tex. State Soccer Ass’n, Inc.,
      213 F.3d 198 (5th Cir. 2000) .......................................................................................14, 16, 21

   ePlus, Inc. v. Lawson Software, Inc.,
      764 F. Supp. 2d 807 (E.D. Va. 2011) ......................................................................................10

   Gen. Elec. Co. v. Joiner,
      522 U.S. 136 (1997) .................................................................................................................11

   Harris Wayside Furniture Co. v. Idearc Media Corp.,
      2008 WL 7109357 (D.N.H. Dec. 22, 2008).......................................................................15, 21

   Hempstead v. Pfizer, Inc. (In re Lipitor (Atorvastatin Calcium) Mktg., Sales
     Practices & Prods. Liab. Litig.),
     150 F. Supp. 3d 644 (D.S.C. 2015)............................................................................................9

   In re IBM Peripheral EDP Devices Antitrust Litig.,
       481 F. Supp. 965 (N.D. Cal. 1979) ..........................................................................................23

   It’s My Party, Inc. v. Live Nation, Inc.,
        88 F. Supp. 3d 475 (D. Md. 2015), aff’d, 811 F.3d 676 (4th Cir. 2016) .................................24

   Kentucky Speedway, LLC v. Nat’l Ass’n of Stock Car Auto Racing, Inc.,
      588 F.3d 908 (6th Cir. 2009) ...................................................................................................28

   Lake v. Adams,
      2020 WL 1016352 (W.D. Va. Mar. 2, 2020) ...........................................................................10

   LeClercq v. The Lockformer Co.,
      2005 WL 1162979 (N.D. Ill. Apr. 28, 2005) .....................................................................24, 26

   In re Lipitor (Atorvastatin Calcium) Mktg. v. Pfizer, Inc.,
       892 F.3d 624 (4th Cir. 2018) ...............................................................................................8, 13

   In re Live Concert Antitrust Litig.,
       863 F. Supp. 2d 966 (C.D. Cal. 2012) .....................................................................................18

   Loeffel Steel Prods., Inc. v. Delta Brands, Inc.,
      387 F.Supp.2d 794 (N.D. Ill. 2005) .........................................................................................16

   Menasha Corp. v. News Am. Mktg. In-Store, Inc.,
     354 F.3d 661 (7th Cir. 2004) ...................................................................................................23

   Mitchell v. Geo Grp. Inc.,
      2022 WL 874287 (D. Ariz. Mar. 24, 2022) .............................................................................10

   Multimatic, Inc. v. Faurecia Interior Sys. USA, Inc.,
      358 F. App’x 643 (6th Cir. 2009) ............................................................................................21


                                                                      iii
Case 1:23-cv-00108-LMB-JFA Document 908-1 Filed 07/17/24 Page 5 of 35 PageID# 21462

                                                                                                                                           Page(s)


   Nease v. Ford Motor Co.,
      848 F.3d 219 (4th Cir. 2017) .....................................................................................................9

   Prince George’s Cnty. v. Wells Fargo & Co.,
      520 F. Supp. 3d 747 (D. Md. 2021) .........................................................................................12

   S. Pac. Commc’ns Co. v. Am. Tel. & Tel. Co.,
       556 F. Supp. 825 (D.D.C. 1982) ..............................................................................................23

   Silicon Knights, Inc. v. Epic Games, Inc.,
       2011 WL 6748518 (E.D.N.C. Dec. 22, 2011) ...........................................................................9

   Sims v. Kia Motors of America, Inc.,
      839 F.3d 393 (5th Cir. 2016) ...................................................................................................28

   Tyger Constr. Co. v. Pensacola Constr. Co.,
      29 F.3d 137 (4th Cir. 1994) .....................................................................................................11

   Werdebaugh v. Blue Diamond Growers,
      2014 WL 7148923 (N.D. Cal. Dec. 15, 2014) .........................................................................23

   Whitfield v. John Bourne Co.,
      16 F. App’x 116 (4th Cir. 2001) ..............................................................................................19

   In re Wholesale Grocery Prod. Antitrust Litig.,
       946 F.3d 995 (8th Cir. 2019) ...................................................................................................19

   Statutes & Rules

   15 U.S.C. § 15a ................................................................................................................................1

   Fed. R. Evid. 702 ...................................................................................................................8, 9, 10

   Fed. R. Evid. 702(b) .........................................................................................................................9

   Fed. R. Evid. 702(d) .........................................................................................................................9

   Other Authorities

   Daniel L. Rubinfeld, Reference Manual on Scientific Evidence (3d ed. 2011) .............................12

   Jeffrey M. Wooldridge, Introductory Econometrics: A Modern Approach (5th ed.
       2013) ........................................................................................................................................12

   Phillip E. Areeda & Herbert Hovenkamp, Antitrust Law: An Analysis of Antitrust
       Principles and Their Application (5th ed. 2023) .....................................................................14

   Report of the Advisory Committee on Evidence Rules 5-6 (May 15, 2022),
      tinyurl.com/AdvisoryCommitteeRpt .........................................................................................9

                                                                           iv
Case 1:23-cv-00108-LMB-JFA Document 908-1 Filed 07/17/24 Page 6 of 35 PageID# 21463




                                            INTRODUCTION

           The opinions of Plaintiff’s damages expert, Dr. Timothy Simcoe, should be excluded

   because they are not based on a reliable application of a recognized methodology, fail to account

   for the effects of lawful behavior, and fail to reflect the economic and factual realities of the record.

   In its fifth claim, Plaintiff United States seeks damages under 15 U.S.C. § 15a on behalf of eight

   federal agency advertisers (“FAAs”).            According to its complaint, Google’s alleged

   anticompetitive conduct caused Plaintiff United States to pay more for Google’s ad tech services

   that facilitate purchases of “open-web display advertising.” Simcoe opines that Google charged

   a supracompetitive revenue share for Google’s ad exchange tool called AdX, which facilitates

   sales of “open-web display” impressions. Simcoe purports to calculate (a) what percent revenue

   share Google would have charged publishers absent certain of its alleged anticompetitive conduct,

   and (b) what percentage of that overcharge would have been borne by advertisers.

           Simcoe’s but-for revenue share opinions are premised on two flawed and economically

   unsound models (the “Comparables Approach” and the “Event Study”) which he claims show that

   but for alleged anticompetitive conduct, Google would have charged a worldwide average AdX

   revenue share of between 16.2 and 16.6 percent, rather than the average 19.8 percent it charges

   worldwide. He also offers, in the background of his report, an additional “predicted” but-for AdX

   revenue share of 10 percent, based on a regression so unreliable that he subsequently rejected the

   calculation, testifying he is “not offering an opinion that the but-for take rate is 10 percent.” Ex. 91

   at 180:5-12. 1 Simcoe then attempts to “apportion” his purported overcharges between Google’s



   1
     All references to “Ex.” refer to the Declaration of Bryon Becker in Support of Google’s Motion
   for Summary Judgment and Motions to Exclude. With respect to quoted material, unless otherwise
   indicated, all brackets, ellipses, footnote call numbers, internal quotations, and citations have been
   omitted for readability. All emphasis is added unless otherwise indicated.

                                                      1
Case 1:23-cv-00108-LMB-JFA Document 908-1 Filed 07/17/24 Page 7 of 35 PageID# 21464




   advertiser and publisher customers, and opines that advertisers paid 19.3 percent of any AdX

   overcharge. But his apportionment is premised on the economically erroneous and factually

   unsupported assumption that each of the FAAs is equivalent to a “representative advertiser.”

   Accordingly, Simcoe’s opinions should be excluded for the following reasons.

           First, with respect to his “predicted” 10 percent but-for AdX revenue share, Simcoe

   disclaimed offering any opinion that the but-for revenue share is 10 percent, and the crude

   regression purporting to calculate that revenue share does not comply with accepted methodology

   and is therefore unreliable.

           Second, Simcoe’s Comparables Approach estimating a but-for AdX revenue share fails to

   comply with a recognized and reliable methodology. And in implementing the Comparables

   Approach, Simcoe fails to evaluate the comparability of the firms he uses to build his model, and

   fails to control for lawful factors that affect his results.

           Third, Simcoe’s Event Study estimating a but-for AdX revenue share fails to account for

   the effects of an undisputedly lawful and procompetitive product feature that Google implemented

   at the same time it implemented the allegedly unlawful rule change Simcoe purports to measure.

   His model is therefore unable to distinguish between impressions gained from lawful,

   procompetitive behavior and the challenged conduct.

           Fourth, Simcoe’s Apportionment Analysis, purporting to measure the percentage of the

   alleged AdX overcharge borne by the FAAs, fails to account for facts in the record showing that

   FAAs cannot be likened to “representative”—i.e., average—advertisers. Simcoe acknowledges

   that the FAAs are not the average advertiser; they have “their own objectives.” Ex. 91 at 379:11-

   21. Simcoe’s application of a market-wide, worldwide apportionment figure to the FAAs does not

   “fit” the facts of this case, as Daubert requires, and is also unreliable.



                                                       2
Case 1:23-cv-00108-LMB-JFA Document 908-1 Filed 07/17/24 Page 8 of 35 PageID# 21465




                 BACKGROUND AND SUMMARY OF SIMCOE’S OPINIONS

          I.      Background

          Plaintiff United States asked Simcoe “to estimate the percent overcharge paid by

   advertisers who purchase display advertisements on the open web.” Ex. 5, ¶ 6. 2

          Simcoe did no “independent analysis” of relevant product markets, market power, or

   alleged anticompetitive conduct to complete his assignment. Ex. 91 at 161:4-162:3; Ex. 5, ¶ 7.

   Rather, Simcoe reviewed the report of Plaintiffs’ expert Robin Lee, and adopted Lee’s relevant

   antitrust markets, Ex. 5, ¶¶ 7, 59; Ex. 91 at 70:14-21, his conclusions that Google “has substantial

   and sustained market power” in each of the alleged relevant markets; and his opinion that

   “Google’s conduct was exclusionary.” Ex. 5, ¶¶ 63, 88.

          Simcoe summarizes parts of Lee’s report about features of so-called “open-web ad

   impressions,” and focuses on the average prices of such impressions sold on different ad

   exchanges. Ex. 5, ¶¶ 79-87. Simcoe opines that the differences in prices charged by those

   exchanges “reflects differences in the nature and quality of publisher inventory sold through each

   exchange, as well as differences in demand, costs and other features of the auction process across

   the exchanges.” Ex. 5, ¶ 85.

          In a background section of his report, Simcoe also sets out a simple diagram that “plots the

   average take rate of each exchange” against the average cost-per-thousand-impressions (“CPM”)

   “of impressions sold through that exchange.” Ex. 5, ¶ 86. He performs a simple linear regression

   over those seven observations in order to measure “the relationship between average CPM and




   2
     All cites to Simcoe’s initial expert report hereinafter incorporate the later-filed errata, where
   applicable. See Ex. 92.

                                                    3
Case 1:23-cv-00108-LMB-JFA Document 908-1 Filed 07/17/24 Page 9 of 35 PageID# 21466




   average take rate for all exchanges other than AdX,” for the January 2019 to March 2023 time

   period. Id.

          He then writes, “extrapolating from the linear regression model, AdX’s predicted take rate”

   would be “10 percent.” Id. ¶ 87. While Simcoe makes vague statements about the linear regression

   “informing” his analysis, he expressly disavowed that regression when he testified at deposition:

   “I’m not offering an opinion that the but-for take rate is 10 percent.” Ex. 91 at 180:5-12; see also

   id. at 179:4-12 (testifying that the regression “informs my analysis, but it’s not, on its own, the

   basis for any conclusion about the take rates in the but-for world”).

          II.     Summary of Opinions

          But-For World. Simcoe next constructs a but-for world to estimate the AdX revenue share

   that Google would have charged absent certain alleged anticompetitive conduct. Ex. 5, ¶ 103.

   Simcoe defines his but-for world as one in which three—out of the Complaint’s alleged ten—acts

   of alleged anticompetitive conduct did not occur: where 1) there “is no tie between Google Ads

   and AdX”; 2) there “is no tie between AdX and DFP”; and 3) Google did not introduce Unified

   Pricing Rules (“UPR”). Id. Simcoe states that he focuses on these three allegedly anticompetitive

   acts because they “were in place during the damages period” and “continue today.” Id. ¶ 105. As

   for the challenged conduct that occurred before the damages period, Simcoe claims that it is

   “relevant,” but testified that he did “not contemplate removing that other conduct in characterizing

   the but-for world.” Ex. 91 at 78:3-79:3.

          As to the first act he removes in the but-for world, Simcoe claims that without a “tie”

   between Google’s ad buying tool Google Ads and AdX, “advertisers on Google Ads would be able

   to use a single buying tool to multihome among exchanges by submitting bids through multiple

   paths, including other exchanges with take rates lower than the 20 percent currently charged by



                                                    4
Case 1:23-cv-00108-LMB-JFA Document 908-1 Filed 07/17/24 Page 10 of 35 PageID# 21467




    AdX.” Ex. 5, ¶ 103.a. As to the second, Simcoe claims that without a “tie” between AdX and

    Google’s publisher ad tool DFP, “AdX advertisers would be able to submit real-time bids into

    third-party publisher ad servers, making alternatives to DFP more attractive to publishers.” Id.

    ¶ 103.b. And as to the third, Simcoe claims that if publishers could “vary the floors for different

    exchanges within DFP,” they would exert “pressure on specific exchanges to reduce their take

    rates in order to win more auctions.” Id. ¶ 103.c.

           Simcoe then constructs and applies two different models to estimate the AdX revenue share

    in his but-for world that excludes these three conducts: the “Comparables Approach” and the

    “Event Study.” Id. ¶ 136.

           Comparables Approach. For the Comparables Approach, Simcoe calculates a benchmark

    revenue share against which to compare Google’s actual AdX revenue share. The benchmark is a

    weighted average monthly revenue share for “open-web display” transactions conducted through

    seven third-party exchanges 3—out of more than fifty ad exchanges competing with AdX in the

    real world for “open-web display” impressions—during the January 2019 to March 2023 time

    period. Id. ¶¶ 216-17, 223-24, Fig. 15; Ex. 2, ¶ 220. Simcoe claims that his Comparables

    Approach is a yardstick approach commonly used in measuring overcharge damages. Ex. 93, ¶ 52.

           Based on his Comparables Approach, Simcoe opines that in his but-for world Google

    would have charged a 16.2 percent AdX revenue share. Ex. 91 at 258:20-259:6. Simcoe does not

    explain why the seven exchanges he selected are appropriate or reliable benchmarks against which

    to compare Google’s AdX, based on factors an economist must consider when selecting proper

    benchmarks. Simcoe also does not explain why other exchanges are left out. For example, he



    3
     These are PubMatic, Magnite/Rubicon, Index Exchange, OpenX, Xandr, Sovrn, and Yieldmo.
    Ex. 5, Fig. 15, notes.

                                                     5
Case 1:23-cv-00108-LMB-JFA Document 908-1 Filed 07/17/24 Page 11 of 35 PageID# 21468




    excludes ad exchanges that produced data for U.S. impressions only, even though the Plaintiff

    United States is seeking to recover on behalf of FAAs that advertise almost exclusively in the

    United States. Ex. 5, ¶ 276; Ex. 38, ¶ 139 n.319 (“collectively, during the damages period, more

    than 99.6% of FAA spending through DV360 was targeted at U.S. users”).

           For the seven exchanges he includes, Simcoe did not calculate the average revenue share

    charged by each of the seven, but Google’s expert Professor Judith Chevalier did so using Simcoe’s

    data. Ex. 38, Fig. 10. Calculated on a per-exchange basis, six of the seven exchanges included in

    Simcoe’s Comparables Approach charge higher than the model’s total weighted average but-for

    revenue share of 16.2 percent—i.e., higher than the price Simcoe claims AdX would have charged

    but for the alleged anticompetitive conduct—with one of those exchanges charging significantly

    more than the current AdX revenue share of 19.8 percent. Id. 4 Simcoe did not challenge

    Chevalier’s calculations, and Simcoe could not explain what factors would permit some ad

    exchanges to charge what appears to be a supracompetitive price because it is higher than the

    weighted average, or why Google could not therefore charge the same higher-than-average price

    for the same reasons. Ex. 91 at 289:18-290:10; 303:15-304:15.

           Event Study. Simcoe also calculates what he calls his “Event Study” to estimate a but-for

    AdX revenue share. Ex. 5, ¶ 226. The Event Study is based on Google’s introduction of UPR.

    UPR benefitted advertisers by simplifying bidding, minimizing bidder errors, and improving

    decision-making. Mem. of Law ISO Mot. for S.J. ¶¶ 82-83. After UPR was introduced (starting

    gradually in May 2019, and fully launched in September 2019), publishers using Google’s DFP


    4
     Simcoe’s Comparables Analysis results in a worldwide weighted average revenue share estimate
    of 16.2 percent. The following                          Redacted




                                                    6
Case 1:23-cv-00108-LMB-JFA Document 908-1 Filed 07/17/24 Page 12 of 35 PageID# 21469




    publisher tool could no longer require an advertiser bid from AdX to beat a higher floor price than

    a bid coming from a different ad exchange for the very same ad impression. Id. ¶¶ 80-83.

           Plaintiffs challenge UPR as anticompetitive, claiming that UPR allowed Google’s

    advertiser tools to win more auctions through AdX “to the detriment of rival exchanges.” Ex. 5,

    ¶¶ 119-123. Thus, through the Event Study, Simcoe calculates what he calls the “UPR equivalent

    take rate,” 5 and asserts that the difference between Google’s “as-is” revenue share and the “UPR

    equivalent take rate” estimates the effects of Google’s unlawful imposition of UPR. Id. ¶¶ 149-

    150.

           The fatal flaw in the Event Study is that it does not account or control for the effect of

    AdX’s transition from a second price auction to a unified first price auction (“UFPA”), which

    allows all possible sources of demand—including direct deals, header bidding bids, competitor

    exchanges, and AdX—to compete against each other in real time in a first price auction. Ex. 1,

    ¶ 165; see also Mem. of Law ISO Mot. for S.J. ¶ 81. Plaintiffs do not challenge UFPA as

    anticompetitive and their experts agree it is procompetitive; it increases “competition among

    exchanges.” Ex. 28, ¶ 195; Ex. 5, ¶ 116. The full implementation of UPR occurred at the exact

    same time that AdX implemented UFPA. Simcoe’s failure to take UFPA into account in his Event

    Study means that there is no way to separate the effect of increased lawful competition through

    UFPA from any effect of the alleged unlawful implementation of UPR.


    5
      To calculate this rate, Simcoe purports to estimate “two key parameters” using a regression
    model. With the first parameter, he claims to measure “the increase in market share that Google
    achieved by implementing UPR.” Ex. 5, ¶ 226. Simcoe claims that because “Google could not
    implement UPR in the but-for world, this parameter provides an indication of the benefits that
    Google derives from its exclusionary conduct, and the corresponding harm to publishers and
    advertisers.” Id. With the second parameter, Simcoe purports to measure “the sensitivity of ad
    exchange demand to changes in the take rate.” Id. The ratio of the first parameter (incremental
    impressions won by AdX) to the second (revenue share sensitivity) results in “the ‘take-rate
    equivalent’ impact of UPR.” Id.

                                                    7
Case 1:23-cv-00108-LMB-JFA Document 908-1 Filed 07/17/24 Page 13 of 35 PageID# 21470




            Apportionment Analysis. Last, Simcoe constructs and applies a methodology to apportion

    the purported but-for AdX revenue share between publishers, on one side, and advertisers, on the

    other side. Simcoe opines that the percentage share AdX charges publishers for selling their

    inventory is an “ad valorem fee” that “functions similarly to a tax.” Ex. 5, ¶ 159. Simcoe states

    that “the incidence (i.e., the share of harm) of a ‘tax’ on a transaction” depends “on the relative

    price elasticities of publisher supply and advertiser demands.” Id. Accordingly, the percent of the

    alleged AdX overcharge purportedly borne by advertisers and publishers, respectively, depends

    on the relative price elasticities of advertiser demand and publisher supply. Id. ¶¶ 159, 173-175.

    After estimating these elasticities, Simcoe uses them to calculate the portion of the alleged

    overcharge that the FAAs supposedly bore. In doing so, Simcoe assumes that the FAAs are

    “representative advertisers.” Id. ¶ 127; Ex. 91 at 369:2-370:4. In making this assumption, Simcoe

    simply means that FAAs can be stand-ins for “supply and demand elasticities for the entire market”

    simply because they are “large buyers that buy a variety of ads in the open web display impression

    market.” Ex. 91 at 369:2-370:4. 6 But in treating the FAAs as, essentially, the market-wide

    average, Simcoe ignores his own admissions that the FAAs are not uniform in terms of the demand

    curves they generate, as well as the extensive fact record showing that the FAAs are decidedly not

    market-wide average advertisers.

                                           LEGAL STANDARD

            Federal Rule of Evidence 702 permits testimony where the expert’s “scientific, technical,

    or other specialized knowledge will help the trier of fact to understand the evidence or to determine

    a fact in issue” so long as the expert’s opinion is “based on sufficient facts or data,” “is the product



    6
      Despite testifying here to an “open web display impression market,” Simcoe claims to be
    calculating overcharges in the alleged ad exchange market.

                                                       8
Case 1:23-cv-00108-LMB-JFA Document 908-1 Filed 07/17/24 Page 14 of 35 PageID# 21471




    of reliable principles and methods,” and the expert has reliably applied “the principles and methods

    to the facts of the case.” Fed. R. Evid. 702; see also In re Lipitor (Atorvastatin Calcium) Mktg. v.

    Pfizer, Inc., 892 F.3d 624, 631 (4th Cir. 2018). A district court has a “gatekeeping responsibility”

    to make sure that expert testimony “both rests on a reliable foundation and is relevant to the task

    at hand.” Nease v. Ford Motor Co., 848 F.3d 219, 229 (4th Cir. 2017) (emphasis in original). As

    of December 2023, Federal Rule 702 was amended to require courts to take a more active role in

    analyzing experts’ conclusions and ensure they are the result of “reliable application of the expert’s

    basis and methodology.” Fed. R. Evid. 702 advisory committee’s notes to 2023 amendment. The

    changes respond to the fact that many courts have declared the requirements set forth in Rule

    702(b) and (d) “are questions of weight and not admissibility, and more broadly that expert

    testimony is presumed to be admissible,” and “the language of the amendment more clearly

    empowers the court to pass judgment on the conclusion that the expert has drawn from the

    methodology.” Report of the Advisory Committee on Evidence Rules 5-6 (May 15, 2022),

    tinyurl.com/AdvisoryCommitteeRpt.

           The proponent of the expert testimony bears the burden of establishing its admissibility by

    a preponderance of evidence. Silicon Knights, Inc. v. Epic Games, Inc., 2011 WL 6748518, at *5

    (E.D.N.C. Dec. 22, 2011).

           Reliability: Rule 702 requires not only that experts use reliable principles and methods,

    they must also reliably apply “the principles and methods to the facts of the case.” Fed. R. Evid.

    702; Hempstead v. Pfizer, Inc. (In re Lipitor (Atorvastatin Calcium) Mktg., Sales Practices &

    Prods. Liab. Litig.), 150 F. Supp. 3d 644, 660-61 (D.S.C. 2015) (“courts have made clear that

    regardless of what the methodology may be called, it must meet the standards of Rule 702—

    an expert must use a valid methodology, the methodology must be reliably applied, and her



                                                      9
Case 1:23-cv-00108-LMB-JFA Document 908-1 Filed 07/17/24 Page 15 of 35 PageID# 21472




    opinions must be supported by sufficient facts and data”). “Any step that renders the analysis

    unreliable renders the expert’s testimony inadmissible. This is true whether the step completely

    changes a reliable methodology or merely misapplies that methodology.” Fed. R. Evid. 702

    advisory committee’s notes to 2000 amendment.

           Relevance: Expert testimony must also be “sufficiently tied to the facts of the case” and

    “aid the jury in resolving a factual dispute.” ePlus, Inc. v. Lawson Software, Inc., 764 F. Supp. 2d

    807, 812 (E.D. Va. 2011). “Expert testimony which does not relate to any issue in the case is not

    relevant and, ergo, non-helpful.” Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 591

    (1993). Helpfulness to the trier of fact is “the touchstone” under Rule 702. Lake v. Adams, 2020

    WL 1016352, at *1 (W.D. Va. Mar. 2, 2020).

                                              ARGUMENT

    I.     Simcoe Should Be Precluded From Offering Testimony About A “Predicted” 10
           Percent But-For Revenue Share.

           The Court should preclude Simcoe from testifying about any “predicted” 10 percent but-

    for revenue share because Simcoe expressly disclaimed offering this “prediction” as an opinion.

    Moreover, this “prediction” is unreliable because it is based on a linear regression model that falls

    well short of satisfying recognized standards in the field, the economic literature, or the case law.

           A.      Having Disclaimed Any Opinion Based On It, Simcoe’s “Predicted” 10
                   Percent But-For Revenue Share Is Not Helpful to the Jury.

           Simcoe admitted at his deposition that he is “not offering an opinion that the but-for take

    rate is 10 percent,” Ex. 91 at 180:5-12, and disavowed it as a proper “basis for any conclusion

    about the take rates in the but-for world,” id. at 179:4-12. Where, as here, an expert “disavows an

    opinion expressed in the expert’s report,” he should be “precluded from offering that opinion at

    trial.” Mitchell v. Geo Grp. Inc., 2022 WL 874287, at *5-6 (D. Ariz. Mar. 24, 2022) (expert

    disavowed opinion when asked, “point-blank to verify that he wasn’t offering” said opinion “and

                                                     10
Case 1:23-cv-00108-LMB-JFA Document 908-1 Filed 07/17/24 Page 16 of 35 PageID# 21473




    he responded by confirming that he wasn’t doing so”); Devito v. Smithkline Beecham Corp., 2004

    WL 3691343, at *4 (N.D.N.Y. Nov. 29, 2004) (when an expert “expressly” disavows holding an

    opinion at his deposition, “necessarily he has no foundation, scientific or otherwise” for it).

           Plaintiff may point to Simcoe’s conclusory assertion that the 10 percent prediction

    “informs” his analysis, but a prediction that he disavows and fails to explain how it informs the

    analysis is improper. Allowing Simcoe to testify about this “predicted” revenue share will only

    invite the jury to consider it as a potential input to measuring damages when Simcoe has explicitly

    disavowed that it should be used as such, particularly where, as here, antitrust damages are “an

    area where a jury’s common sense is less available than usual to protect it.” Tyger Constr. Co. v.

    Pensacola Constr. Co., 29 F.3d 137, 145 (4th Cir. 1994); Ex. 91 at 179:4-12 (testifying that the

    regression “informs my analysis, but it’s not, on its own, the basis for any conclusion about the

    take rates in the but-for world”). Simcoe’s claim that his prediction “can form part of a reliable

    analysis” if it is “used along with all of the other information that I use in doing my own analysis”

    provides the jury with no understanding of how this predicted revenue share “should be used.” Id.

    at 182:11-21. “Nothing in either Daubert or the Federal Rules of Evidence requires a district court

    to admit opinion evidence that is connected to existing data only by the ipse dixit of the expert.”

    Gen. Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997).

           Plaintiff may also attempt to use the 10 percent prediction to support the calculations of its

    other damages expert, Adoria Lim, who separately calculates Plaintiff’s alleged damages using,

    among other inputs, a 10 percent but-for revenue share solely at the “request” of Plaintiff United

    States. Mem. of Law ISO Mot. to Exclude Lim at 7. Lim did not rely on Simcoe’s “prediction”

    in calculating damages based on a 10 percent but-for AdX revenue share. Id. at 19. Lim does not

    know the basis for Plaintiff United States’ request and is not aware of any facts that support a 10



                                                     11
Case 1:23-cv-00108-LMB-JFA Document 908-1 Filed 07/17/24 Page 17 of 35 PageID# 21474




    percent but-for revenue share. Id. With Simcoe having disclaimed offering any opinion that a

    “predicted” 10 percent revenue share is a proper but-for estimate, Plaintiff United States cannot

    claim Simcoe’s analysis supports Lim’s use of a 10 percent revenue share input.

           B.      The “Predicted” 10 Percent But-For Revenue Share Is Not Supported By A
                   Reliable Methodology.

           The 10 percent prediction is not the product of reliable analysis and should be excluded.

           First, Simcoe’s regression supporting the “prediction” includes just seven observations—

    a number that the economic literature and courts agree is woefully insufficient to produce a reliable

    estimate. Daniel L. Rubinfeld, Reference Manual on Scientific Evidence at 342 (3d ed. 2011)

    (“thirty or more data points will be sufficient for regressions with a small number of explanatory

    variables”); 7 Jeffrey M. Wooldridge, Introductory Econometrics: A Modern Approach at 176 (5th

    ed. 2013) (minimum of thirty observations is “satisfactory”).

           Courts have excluded economic models as unreliable when they are based on too few

    observations. For example, the Seventh Circuit lambasted an expert for using “a tiny sample—10

    observations,” because “small samples are less representative” and a regression based on ten

    observations “would yield a less precise prediction.” ATA Airlines, Inc. v. Fed. Ex. Corp., 665

    F.3d 882, 895-96 (7th Cir. 2011); see also Columbia Gas Transmission, LLC v. 171.54 Acres of

    Land, 2023 WL 9272553, at *7 (S.D. Ohio Nov. 9, 2023) (finding expert model using twenty-two

    observations as unreliable; crediting opposing expert who pointed to “various manuals” showing

    twenty-two observations was insufficient); Cede & Co. v. Technicolor, Inc., 2003 WL 23700218,




    7
     Courts frequently rely on Rubinfeld’s reference guide. E.g., Bouygues Telecom, S.A. v. Tekelec,
    2007 WL 4699237, at *5 n.4 (E.D.N.C. Feb. 5, 2007); Prince George’s Cnty. v. Wells Fargo &
    Co., 520 F. Supp. 3d 747, 755 n.6 (D. Md. 2021).

                                                     12
Case 1:23-cv-00108-LMB-JFA Document 908-1 Filed 07/17/24 Page 18 of 35 PageID# 21475




    at *9 (Del. Ch. Dec. 31, 2003) (similar), aff’d in part, rev’d in part on other grounds, 884 A.2d 26

    (Del. 2005).

            Second, and not surprisingly given the tiny number of observations used in the model, the

    10 percent predicted but-for revenue share is not reliable because its p-value—a measure of

    statistical significance—is far too high. In re Lipitor, 892 F.3d at 634 (“The p-value represents

    the likelihood that an apparent association observed in a data set is the product of random chance

    rather than a true relationship”); see also Ex. 38, ¶ 66. For an association like Simcoe’s 10 percent

    prediction to be “considered statistically significant,” consistent with the academic literature,

    courts have looked for p-values of less than “0.05.” In re Lipitor, 892 F.3d at 634; Rubinfeld,

    supra, at 320 (“Although the 5% criterion is typical, reporting of more stringent 1% significance

    tests or less stringent 10% tests can also provide useful information.”). A p-value of less than 0.05

    means “there is a less than 5% chance that a discovered association is a false positive result.” In

    re Lipitor, 892 F.3d at 634; see also Rubinfeld, supra, at 320.

            The p-value for this regression is 0.375, meaning there is a nearly 40 percent chance that

    the 10 percent prediction is a “false positive result”; the upshot is that there is very little confidence

    that the 10 percent prediction is what would occur in a but-for world. In re Lipitor, 892 F.3d at

    634. Simcoe agrees that this p-value is far too high. Ex. 91 at 187:19-188:14 (testifying that the

    0.375 p-value is “higher than the standard threshold of, say, 10 percent or 5 percent”). As Google’s

    expert Chevalier explains, this model “cannot be interpreted as demonstrating a positive

    relationship” between CPM and an exchange’s revenue share in light of the .375 p-value. Ex. 38,

    ¶ 66. Simcoe never defended his regression as reliable in the face of Chevalier’s criticism. Ex. 91

    at 188:20-189:3.




                                                       13
Case 1:23-cv-00108-LMB-JFA Document 908-1 Filed 07/17/24 Page 19 of 35 PageID# 21476




             Last, the predicted revenue share is unreliable for common-sense reasons. This crude

    regression showing a positive correlative relationship between two metrics—CPM and average

    revenue share—does not and cannot explain the myriad reasons why revenue shares are different

    across ad exchanges, and does not control in any way for these myriad reasons. As Simcoe

    acknowledges, variation in prices across exchanges “reflects differences in the nature and quality

    of publisher inventory sold through each exchange, as well as differences in demand, costs and

    other features of the auction process across the exchanges.” Ex. 5, ¶ 85.

    II.      Simcoe’s Comparables Approach Should Be Excluded Because It Is Not The Product
             of A Reliable Methodology.

             Simcoe’s Comparables Approach to estimate a but-for AdX revenue share is not a reliable

    or valid application of well-accepted methods of estimating overcharge damages. There are two

    common, well-accepted methods of measuring overcharge damages: the “benchmark” method

    (also referred to as a “yardstick” method) and the “before-and-after” method. Eleven Line, Inc. v.

    N. Tex. State Soccer Ass’n, Inc., 213 F.3d 198, 207 (5th Cir. 2000); Phillip E. Areeda & Herbert

    Hovenkamp, Antitrust Law: An Analysis of Antitrust Principles and Their Application ¶ 399b (5th

    ed. 2023).      Simcoe claims that his Comparables Approach is a proper application of the

    benchmark/yardstick method of estimating overcharge damages. Ex. 93, ¶ 52. The “yardstick

    method of estimating but-for prices” is a one by which “prices in a similar market, unaffected by

    the anticompetitive conduct present in the market at issue, are assumed to be a reasonable stand-

    in for the but-for prices that would have prevailed in the market at issue absent the anticompetitive

    conduct.” City of Rockford v. Mallinckrodt ARD, Inc., 2024 WL 1363544, at *6 (N.D. Ill. Mar. 29,

    2024).

             There are two methodological errors with Simcoe’s Comparables Approach that render it

    inadmissible.     First, Simcoe conducts no comparability analysis in selecting the seven ad


                                                     14
Case 1:23-cv-00108-LMB-JFA Document 908-1 Filed 07/17/24 Page 20 of 35 PageID# 21477




    exchanges whose data he relies on to estimate a purported but-for AdX revenue share. Second,

    Simcoe fails to control for differences between the ad exchanges he chooses as his benchmark and

    AdX, a necessary step in applying this methodology.

           A.      The Comparables Approach Selects Comparator Firms In An Arbitrary and
                   Unsupported Manner.

           Simcoe does no analysis whatsoever to determine whether any of the comparator firms he

    uses in the Comparables Approach are sufficiently similar to Google’s AdX but for the alleged

    conduct, as is required in order for a yardstick analysis to yield reliable results. Harris Wayside

    Furniture Co. v. Idearc Media Corp., 2008 WL 7109357, at *3 (D.N.H. Dec. 22, 2008) (“The

    yardstick methodology requires similarity of enough business characteristics to make the

    comparison reasonable and the predictions based thereon trustworthy.”). Rather, he testified that

    the “appropriateness” of the ad exchanges he selected “is a function of the fact that they sell access

    to tools, exchanges specifically, that are used to facilitate open web advertising transactions.”

    Ex. 91 at 242:13-243:2. But the fact that the ad exchanges provide a similar service as Google’s

    AdX does not alone make it a proper comparable for a reliable yardstick analysis; that is because

    a proper analysis requires looking at more than the provision of a specific service (facilitation of

    “open-web display ads” worldwide), but identifying comparables based on multiple factors,

    including the differentiation among products and services offered. At the same time, the fact that

    these seven exchanges provide a similar service does not explain why Simcoe excluded the fifty-

    plus other additional firms that provide a service similar both to Google’s AdX and the seven

    benchmark firms he selected. Ex. 2, ¶ 220.

           Moreover, Simcoe concedes that ad exchanges are differentiated products and used to

    facilitate more than just “open-web display” impressions. Ex. 5, ¶ 146. Simcoe’s failure to even

    consider, let alone account for, the fact that an ad exchange like AdX and so many others facilitate


                                                     15
Case 1:23-cv-00108-LMB-JFA Document 908-1 Filed 07/17/24 Page 21 of 35 PageID# 21478




    placement of all sorts of ads, to be placed in all sorts of places, renders his analysis supported only

    by his say-so. See Mem. of Law ISO Mot. to Exclude Lee at 14-17, 29-31.

           Simcoe’s failure to consider and evaluate comparability factors is fatal to his Comparables

    Approach. For example, in Eleven Line, the Fifth Circuit determined that the plaintiff, an indoor

    soccer arena, had not demonstrated “reasonable similarity” of the chosen benchmark where “the

    only evidence of comparability” was the fact that the plaintiff owned the indoor soccer arenas used

    as comparables; there was no comparability analysis for factors such as “geographical location,

    size or attractiveness of those facilities, the size and type of the soccer player market that they

    served,” among others, rendering the damages estimate based on those comparables inadmissible.

    213 F.3d at 208-09.

           Other courts have similarly emphasized that in order for a benchmark method to be reliable,

    the expert must analyze other “critical factors as what services the companies provided, their

    customer base, the products they sold, the geographic markets in which they operated, their prices

    and other critical aspects of the business” to determine whether the selected comparable firms are

    methodologically proper comparators. Loeffel Steel Prods., Inc. v. Delta Brands, Inc., 387

    F.Supp.2d 794, 813, 815 (N.D. Ill. 2005) (rejecting testimony on proposed yardstick where expert

    “admitted he knew nothing about the respective geographic or product markets or customer bases

    of the eight companies or of the quality of service or any other relevant factor that would bear upon

    the question of comparability”); El Aguila Food Prods., Inc. v. Gruma Corp., 131 F. App’x 450,

    453 (5th Cir. 2005) (affirming exclusion where expert “made no effort to demonstrate the

    reasonable similarity of the plaintiffs’ firms and the businesses whose earnings data he relied on

    as a benchmark”); City of Rockford, 2024 WL 1363544, at *7 (rejecting as “fundamentally

    unreasoned” the selection of the “pharmaceutical market as a whole” as a yardstick market for a



                                                      16
Case 1:23-cv-00108-LMB-JFA Document 908-1 Filed 07/17/24 Page 22 of 35 PageID# 21479




    specific type of drug where the only reasoning was a “conclusory assertion that it is appropriate

    because it reflects ‘typical pharmaceutical industry market conditions’”).

           Simcoe claims, in his rebuttal, that he did not select comparable ad exchanges, but rather

    comparable transactions. Ex. 93, ¶¶ 48-49. This is a linguistic contortion that contradicts the

    actual analysis he conducted. Simcoe repeatedly characterized his Comparables Approach as

    comparing “exchange-level” data. Ex. 5, ¶¶ 73, 141, 142, 148, 216, 217, Figs. 4, 14, 15; Ex. 93,

    ¶¶ 33, 36, 48 n.71, 54 & n.81, Fig. 3. He also explains how he chose which exchanges to include

    in his analysis. Ex. 5, ¶ 276 (“I exclude exchanges who only produced data associated with US

    impressions”). And by his own admission, the data he relies on is aggregated to the exchange

    level. Id. ¶ 141. Therefore, Simcoe’s original position, set forth in his opening report, that he

    “must compare the average take rates across different ad exchanges, as opposed to comparing take

    rates charged for comparable impressions” accurately reflects his analysis, notwithstanding any

    backtracking efforts to the contrary. Id. Moreover, Simcoe’s claimed focus on solely “open-web

    display” impression transactions only furthers Plaintiff expert Lee’s unreliable and improper

    market definition opinions which define a market for ad tech tools based on one capability (“open-

    web display”) even though they are capable of facilitating many additional types and placements

    of ads. See Mem. of Law ISO Mot. to Exclude Lee at 14-17, 29-31.

           B.      The Comparables Approach Fails to Control For Differences That Could
                   Explain Differences In Prices Charged By AdX and Third-Party Exchanges.

           Simcoe’s Comparables Approach is unreliable for the additional reason that the crude

    methodology underlying this approach fails to control for the differences among the seven selected

    ad exchanges and the products or services they offer, any of which might explain why the weighted

    average prices charged by each ad exchange are different.




                                                    17
Case 1:23-cv-00108-LMB-JFA Document 908-1 Filed 07/17/24 Page 23 of 35 PageID# 21480




                Simcoe opines that the but-for AdX revenue share is equal to the weighted average revenue

    shares charged by the seven benchmark firms used in the analysis. This weighted average

    calculation yields a 16.2 percent AdX but-for revenue share. As Google’s expert Chevalier

    showed, and Simcoe did not dispute, six out of seven ad exchanges used in the analysis charge

    more than a 16.2 percent revenue share, and one charges higher than Google’s actual revenue

    share. 8 Ex. 91 at 303:5-13 (agreeing that his but-for weighted average take is lower than the

    average take rates of six out of his seven comparable exchanges). This weighted average

    calculation does not attempt to control for any differences which might explain the price variation

    among the seven benchmark ad exchanges as well as Google’s AdX, which is necessary for this

    analysis to be reliable. Simcoe admits that his Comparables Approach does not do what the law

    requires, even though he agrees that ad exchanges are differentiated products and as such “relative

    quality is almost definitionally something that can affect prices.” Ex. 91 at 254:12-18. But he did

    not control for any “factors that may be correlated with differences in average take rates” between

    or among Google and the seven ad exchanges; nor did he attempt to “tease out various causes”

    that would explain the difference in prices charged by ad exchanges. 9

                Multiple courts have excluded expert analyses that do not control for differences that might

    explain the different prices charged by the benchmark firms and the alleged antitrust violator. For



    8
        See Ex. 38, Fig. 10, which shows                              Redacted
            .
    9
      Ex. 91 at 255:22-256:12 (admitting he has not “done a specific analysis to try and isolate the
    causes that produce the particular variation” between benchmark firm Yieldmo’s [32.6%] take rate
    and others); id. at 290:2-10 (admitting “I haven’t done a systematic investigation to try and tease
    out various causes as to what explains pairwise differences in the take rates charged by different -
    - among the exchanges whose transactions I use in the comparable analysis”); id. at 261:2-262:1
    (admitting his Comparables Approach measures alleged price differences without controlling for
    any “factors that may be correlated with differences in average take rates”).

                                                        18
Case 1:23-cv-00108-LMB-JFA Document 908-1 Filed 07/17/24 Page 24 of 35 PageID# 21481




    example, in In re Live Concert Antitrust Litig., 863 F. Supp. 2d 966, 976 (C.D. Cal. 2012), the

    court excluded the expert’s yardstick analysis which attempted to measure overcharge damages by

    comparing the average ticket price for rock concerts promoted by the defendants to the average

    ticket price for rock concerts promoted by other firms. This comparison assumed that the

    difference in average ticket prices was due “entirely to defendants’ allegedly anticompetitive

    conduct,” and failed to account for other probable reasons. Id. at 975. The failure to account “for

    any other possible explanation(s)” for the difference in average prices charged, such as “artist

    quality/popularity” rendered the analysis “so incomplete as to be inadmissible.” Id. at 976

    (emphasis in original).

           Similarly, in Blue Cross & Blue Shield United of Wisconsin v. Marshfield Clinic, 152 F.3d

    588, 592 (7th Cir. 1998), plaintiff (Blue Cross of Wisconsin) alleged it had been overcharged for

    medical services because the defendant (Marshfield) entered into illegal market-allocation

    agreements with competitors. Plaintiff’s expert offered a benchmark that compared Marshfield’s

    prices to prices charged by other medical providers in Wisconsin. But because the expert did not

    control for the quality of Marshfield’s service relative to other providers, or for their market share

    in part of the state, the district court rejected the benchmark. Id. at 593. The Seventh Circuit

    affirmed. Because the expert attributed “the entire difference between the prices of the Marshfield

    Clinic and the prices of other Wisconsin providers of medical services to the division of markets,

    with no correction for any other factor except differences in the treatment mix,” the study could

    “not provide a rational basis for a judgment.” Id.; see also Doctor’s Data, Inc. v. Barrett, 2017

    WL 11885711, at *6 (N.D. Ill. Mar. 31, 2017) (excluding expert opinion where expert purported

    to use a yardstick method and “simply assumed” the economic impact was due to the at-issue

    conduct); In re Wholesale Grocery Prod. Antitrust Litig., 946 F.3d 995, 1003 (8th Cir. 2019)



                                                     19
Case 1:23-cv-00108-LMB-JFA Document 908-1 Filed 07/17/24 Page 25 of 35 PageID# 21482




    (affirming district court’s exclusion of expert testimony where simply “stating that a benchmark

    controls for all factors does not make it so, without more”); Whitfield v. John Bourne Co., 16 F.

    App’x 116, 123 (4th Cir. 2001) (affirming district court’s grant of summary judgment where

    plaintiff had “not considered and accounted for the differences inherent in the markets in his”

    yardstick comparison and explaining that “the disparity in sales numbers could be explained by

    many reasons other than any unfair practices by appellees”); City of Rockford, 2024 WL 1363544,

    at *9 (rejecting yardstick model where expert failed to distinguish “the effect of the unlawful

    conduct taken as a whole against any other factors that may have affected the price”).

           On rebuttal, Simcoe attempts to save his Comparables Approach from exclusion by

    pointing out that because it is a weighted “average” of millions of “transactions” within the seven

    firms, it is somehow a “conservative” and therefore valid estimate. Ex. 93, ¶ 49. Chevalier

    revealed Simcoe’s sleight of hand when she calculated average revenue shares by exchange for

    each of the seven benchmarks. As noted above, this exercise showed six of the seven exchanges

    charge higher than Simcoe’s weighted average of 16.2 percent, and one exchange charges

    significantly more than the current AdX revenue share. Ex. 91 at 303:5-13; Ex. 38, Fig. 10. By

    averaging all of the exchanges’ revenue shares, Simcoe attempts to mask this underlying set of

    facts and his failure to explain why or how six out of the seven exchanges from which he calculates

    a but-for revenue share can charge what would appear to be supracompetitive—i.e., above 16.2

    percent—prices. Alternatively, insofar as these exchanges can charge a higher-than-average price

    because their products or services are different or more valuable, Simcoe has no explanation as to

    why AdX could not charge a comparably higher-than-average price for competitive reasons.

           Further, Simcoe admits that he is taking an average of averages covering “a variety of

    different kinds of transactions to come up with an average take rate for all sorts of different



                                                    20
Case 1:23-cv-00108-LMB-JFA Document 908-1 Filed 07/17/24 Page 26 of 35 PageID# 21483




    transactions on different exchanges.” Ex. 91 at 257:19-258:18. But averaging inputs that are

    flawed is not akin to controlling for product differences. Averaging tries to hide that fundamental

    flaw; it does not fix it. 10 Simcoe acknowledged that in averaging the averages, any differences in

    quality among the ad exchanges’ offerings are “averaged out when I pool together all of the

    transactions through the non-AdX exchanges in calculating a weighted average.” Id. at 270:3-14.

           A but-for revenue share predicated on an average of prices, which have not been adjusted

    to account for reasons to explain why some exchanges can charge more than the but-for revenue

    share or why Google could not as well, is not reliable under Daubert. In Eleven Line, the expert

    used averages of the selected benchmarks to compare plaintiff’s financial performance to “the

    blended performance” of “more- and less-profitable facilities.” 213 F.3d at 208. The Fifth Circuit

    rejected this rationale, explaining that the “analytical problem and failure of this proof lies in the

    fact that an average of unknowns is also an unknown,” and likened it to opining that because

    “McDonald’s franchises earn a certain average rate of return, a particular franchise will perform

    to the average.” Id.; see also Harris Wayside, 2008 WL 7109357, at *2 (excluding expert

    testimony which “simply compared plaintiffs to the median profitability” of other companies in

    the industry); CDW LLC v. NETech Corp., 906 F. Supp. 2d 815, 824-25 (S.D. Ind. 2012) (damages

    calculations “based on ‘average’ yardstick methodology” was inadmissible). 11




    10
      Even if Simcoe’s focus on “transactions” was consistent with reality, which it is not, Simcoe
    nowhere explains why it is reliable to exclude “transactions” from ad exchanges, such as DCN and
    Sharethrough, that produced only U.S. data, even though the “worldwide transactions” comprising
    the Comparables Approach include U.S. data. Ex. 5, Fig. 15, notes; Ex. 91 at 192:12-193:1.
    11
       When asked what would allow competitor ad exchanges—none of which are accused of
    anticompetitive conduct—to charge higher than the average revenue shares, Simcoe’s response
    was only that “It’s a mathematical property of an average that some will be above and some will
    be below.” Ex. 91 at 252:12-21. As the cases cited above show, the average does not make his
    opinion reliable.

                                                     21
Case 1:23-cv-00108-LMB-JFA Document 908-1 Filed 07/17/24 Page 27 of 35 PageID# 21484




           The fact that ad exchanges Simcoe used in the Comparables Approach are the ones which

    produced data in this case does not render the selection of those firms reliable. Simcoe was

    retained by the United States in May 2023. If Simcoe needed different or additional data to make

    his analysis reliable, his client had every opportunity to get it for him. See Multimatic, Inc. v.

    Faurecia Interior Sys. USA, Inc., 358 F. App’x 643, 655 (6th Cir. 2009) (no abuse of discretion

    when excluding “expert testimony whose flaws stem in part from the expert’s efforts to do the best

    job he could with the limited data his client would provide”). 12

           Last, the Event Study does not save the Comparables Approach from exclusion. Simcoe

    testified that controlling for unobserved factors in the Comparables Approach was unnecessary

    because he attempted to do so in the Event Study, which was “complementary” to his Comparables

    Approach. Ex. 91 at 261:2-262:1. The Event Study is unreliable, as discussed below. But even

    if it were not, the fact that Simcoe attempted to control for differences in the Event Study shows

    precisely why he needed to do so if the Comparables Approach were to be methodologically sound.

    III.   Simcoe’s Event Study Should Be Excluded Because It Does Not Reliably Control For
           The Procompetitive Effects of AdX’s Transition to Unified First Price Auctions.

           The Event Study is premised upon an unreliable and improper assumption that an increase

    in AdX impressions after the full launch of UPR is a measure of alleged anticompetitive conduct,

    and is not due to other lawful factors. Simcoe does not dispute that UPR launched simultaneously

    with unified first price auction (UFPA), and Simcoe does not dispute that UFPA increased

    competition. Because the Event Study does not address or control for the increase in AdX

    impressions observed being caused by conduct that Plaintiff acknowledges is procompetitive, the

    Event Study is unreliable.


    12
       As noted below, firms operating outside of Lee’s relevant market did produce data and Simcoe
    failed to consider whether those firms could be used as comparables.

                                                     22
Case 1:23-cv-00108-LMB-JFA Document 908-1 Filed 07/17/24 Page 28 of 35 PageID# 21485




           Beginning in September 2019, at the same time it fully launched UPR, Google also

    transitioned AdX from second price auction to a unified first price auction—a practice that Plaintiff

    does not challenge as anticompetitive and whose experts opine increases competition. Ex. 28,

    ¶ 195. UFPA allows all possible sources of demand—including direct deals, header bidding bids,

    competitor exchanges, and AdX—to compete against each other in real time in a first price auction.

    Ex. 1, ¶ 165; see also Mem. of Law ISO Mot. for S.J. ¶ 81. Notwithstanding the undisputed fact

    that AdX’s move to UFPA increased competition, Simcoe conducted no analysis to isolate or

    account for the effect UFPA had on the increase in AdX impressions after UFPA was implemented,

    Ex. 91 at 341:20-342:5, and did not include a variable in his Event Study to control for any increase

    in impressions due to UFPA. Id. at 342:18-343:3. Because there is no showing that “other causes”

    of an alleged overcharge “have been filtered out of the damage claim,” the Event Study must be

    excluded. S. Pac. Commc’ns Co. v. Am. Tel. & Tel. Co., 556 F. Supp. 825, 1090 (D.D.C. 1982);

    see also In re IBM Peripheral EDP Devices Antitrust Litig., 481 F. Supp. 965, 1013 (N.D. Cal.

    1979) (“If injury is shown to be attributable to factors for which the defendant cannot be held

    liable, then a damage case that ignores those factors must fail.”); Werdebaugh v. Blue Diamond

    Growers, 2014 WL 7148923, at *10 (N.D. Cal. Dec. 15, 2014) (finding fatal methodological error

    where the expert’s damages model “omitted,” and thus failed to “control for,” a real-world variable

    whose effect was highly correlated with that of the at-issue conduct because such a model was

    “incapable of isolating the damages attributable to Defendant’s alleged wrongdoing”).

           Simcoe opined that the effect of the simultaneous transition to UFPA “would be neutral”

    on his Event Study because a handful of documents vaguely characterize the benefits of the

    September 2019 rule changes as being attributable to the removal of “last look” and lower price

    floors “that a first-price auction enables.” Ex. 91 at 341:4-343:3; Ex. 5 ¶ 157 & n.213. These



                                                     23
Case 1:23-cv-00108-LMB-JFA Document 908-1 Filed 07/17/24 Page 29 of 35 PageID# 21486




    cherry-picked documents are not a proper basis to opine that he did not have to control for UFPA.

    One of the documents is an email written a year before UFPA was even introduced. “Instead of

    econometric analysis,” Simcoe’s reliance on these internal company documents is impermissible

    “armchair economics.” Menasha Corp. v. News Am. Mktg. In-Store, Inc., 354 F.3d 661, 664 (7th

    Cir. 2004); Ex. 91 at 342:7-343:3 (admitting that his event study model “does not” include “a

    variable that somehow captures the effect of UFPA in the regression”). Further, the fact that

    Simcoe chooses to rely on some record evidence but ignores contrary evidence is impermissible

    cherry-picking. LeClercq v. The Lockformer Co., 2005 WL 1162979, at *4 (N.D. Ill. Apr. 28,

    2005) (excluding expert whose “failure to discuss the import of, or even mention,” material facts

    was “cherry-picking the facts he considered to render his opinion”). As just one example, Simcoe

    cites as support for his opinion one page from a Google presentation, but ignores other evidence

    in the same deck showing that UFPA resulted in 43 percent higher impressions on AdX. Ex. 61

    at -361.

    IV.    Simcoe’s Apportionment Analysis Must Be Excluded Because it is Premised on the
           Fundamentally Flawed Assumption that FAAs are “Representative Advertisers.”

           Simcoe’s Apportionment Analysis is unreliable because it is based on an assumption

    contradicted by overwhelming evidence that the FAAs are “representative”—i.e., an average—

    worldwide advertiser. Simcoe’s flawed assumption that the FAAs are “representative advertisers”

    results in an apportionment figure that does not take into account the demand elasticities of the

    eight FAAs. Because Simcoe did not analyze or otherwise account for differences in the factors

    which affect the FAAs’ demand for “open-web display” impressions as compared to the average

    worldwide advertiser, his Apportionment Analysis will not provide the jury with a reliable basis,

    which also fits the facts of this case, to estimate the portion any alleged AdX overcharge that is

    borne by any individual FAA. As a result, any damages award would be based on an improper


                                                   24
Case 1:23-cv-00108-LMB-JFA Document 908-1 Filed 07/17/24 Page 30 of 35 PageID# 21487




    expert opinion. Even if expert testimony is “based on sound methodology,” it “should be excluded

    if it is based on unsound or incorrect assumptions.” It’s My Party, Inc. v. Live Nation, Inc., 88

    F. Supp. 3d 475, 483 (D. Md. 2015), aff’d, 811 F.3d 676 (4th Cir. 2016).

           The Apportionment Analysis seeks to allocate to the publisher side and advertiser side of

    an AdX transaction their respective shares of the alleged AdX overcharge and does so in part by

    looking at demand elasticities, or demand curves, faced by advertisers. Identifying demand curves

    faced by different advertisers is a necessary step of such an analysis because different demand

    elasticities can lead to different shares (Simcoe’s “incidence”) of the alleged AdX overcharge

    borne by specific advertisers. See Ex. 38, ¶¶ 18, 158-159; cf. Ex. 93, ¶ 30 (acknowledging that

    when economists estimate aggregate supply and demand elasticities to measure the incidence of a

    tax on a group of buyers or sellers they are measuring the average incidence for a group, as opposed

    to buyer or seller-specific incidence (share)). By treating the FAAs as representative advertisers,

    Simcoe wrongly treats the FAAs as having the same demand curves as one another as well as the

    same demand curve as the “marketwide” worldwide average advertiser. Ex. 91 at 369:2-370:4.

    Yet Simcoe acknowledged that the FAAs do not face the same demand curves as one another or

    as the demand curve he generates for all worldwide advertisers, in part because FAAs have “their

    own objectives in purchasing ads, they purchase different kinds of ads as well as different

    quantities of ads.” Id. at 382:11-14; 379:11-21; cf. Ex 38, Fig. 24 (showing significantly different

    average CPMs by FAA). Simcoe’s own rebuttal analysis demonstrates this phenomenon. His

    Figure 2 shows that demand elasticities vary significantly across advertisers, but he does not then

    account for how that variation would change the portion of the alleged AdX overcharge the FAAs

    would bear in light of those significant variations.




                                                     25
Case 1:23-cv-00108-LMB-JFA Document 908-1 Filed 07/17/24 Page 31 of 35 PageID# 21488




              There are multiple reasons in the record showing why it is possibly the case the FAAs are

    therefore not representative, none of which Simcoe controlled for in the Apportionment Analysis:

              •   The FAAs go through a regulated government contracting process in order to contract

                  with ad agencies, who in turn buy ads on their behalf. 13

              •   The FAAs face federal appropriations and other budgeting issues, 14 and may not have

                  the money allocated to them to actually spend when needed. 15

              •   The FAAs have rules dictating the channels and platforms they are permitted to

                  advertise on for security reasons. 16

              •   Some FAAs advertise primarily during very discrete time periods. For example, the

                  Census Bureau’s largest advertising efforts surround the census, which occurs every

                  ten years. 17

              •   Each FAA targets different audiences, and those audiences are specific to the federal

                  agency’s mandate. For example, the VA wants to reach people who have served in the


    13
      E.g., Ex. 18 at 193:1-194:5 (explaining RFP process for USPS ad agency contracting); Ex. 20
    at 90:23-93:24 (describing the Navy’s selection of VMLY&R as its ad agency and the
    corresponding contract award process undertaken).
    14
      Ex. 22 at 63:3-64:12 (explaining that the Office of Mental Health and Suicide Prevention at the
    VA does not have a specific paid media budget but rather receives funding for paid media via “lag
    funding,” i.e. funding not used by other programs in the office, “kind of like leftovers”).
    15
       Ex. 65 at 42:18-44:7 (explaining the many layers through which funding must travel before
    being approved for any given task order and the irregularity in the timing in which funds are
    received); Ex. 23 at 91:18-92:6; 109:11-110:13 (indicating that Congress appropriates funds to
    NHTSA for specific campaigns); Ex. 95 at -313.
    16
       Ex. 18 at 284:13-285:15 (“I would note something like a Snapchat we wouldn’t use. We’re
    required to memorialize our advertising, and Snapchat is designed to put something up and make
    it go away. It doesn’t work for us under the federal umbrella.”); Ex. 23 at 45:19-46:9 (“because
    I’m a Government agency, I’m not able to advertise in all those,” referring to a list of digital
    advertising channels); Ex. 16 at 56:17-21 (“TikTok is a social media platform but it’s not one that
    we are allowed to be on.”).
    17
         Ex. 95 at -313 (noting “legislation requires a census every 10 years”).

                                                          26
Case 1:23-cv-00108-LMB-JFA Document 908-1 Filed 07/17/24 Page 32 of 35 PageID# 21489




                 military, and specifically does not want to reach those who have not. 18 The armed

                 forces want to target young individuals who have not served in the military. 19

    Simcoe’s failure to consider or account at all for evidence like the above, demonstrating that FAAs

    are differentiated in many ways, results in an opinion and analysis that fails to account for

    important facts of this case. See LeClercq, 2005 WL 1162979, at *4 (excluding expert whose

    “failure to discuss the import of, or even mention,” material facts amounted to “cherry-picking the

    facts he considered to render his opinion,” and did not satisfy Daubert); El Aguila Food Prods.,

    Inc. v. Gruma Corp., Inc., 301 F. Supp. 2d 612, 620-24 (S.D. Tex. 2003) (excluding expert

    testimony “based on wholly insufficient data” while failing to take into account “the facts of the

    case”), aff’d, 131 F. App’x 450 (5th Cir. 2005).

    V.        Simcoe’s Opinions Must Be Excluded In Whole If Any Conduct He Removed From
              His But-For World Is Held To Be Lawful.

              Simcoe opines that his Comparables Approach and Event Study measure the revenue share

    Google would charge for AdX transactions in “a but-for world where a) there is no tie between

    Google Ads and AdX” 20; b) “there is no tie between AdX and DFP”; and c) “publishers can vary

    the floors for different exchanges within DFP.” Ex. 5, ¶ 103. As explained in Google’s motion

    for summary judgment, these purported anticompetitive conducts are lawful because 1) Plaintiffs


    18
      Ex. 22 at 234:14-236:13 (explaining the VA wants to do its “best” to get ads “in front of relevant
    veteran callers”).
    19
         E.g., Ex. 20 at 125:14-127:17.
    20
       Simcoe’s opinion notwithstanding, Plaintiffs do not allege that Google unlawfully tied Google
    Ads and AdX. See First Am. Complaint, ECF No. 120 (“FAC”) ¶¶ 336-339. Instead, as their
    economic experts opining on anticompetitive conduct explain, Plaintiffs allege that Google should
    have given rival exchanges “comparable access” to Google’s own Google Ads customers. Ex. 1,
    ¶ 12(3)(1); Ex. 6 at 33:7-34:2, 46:8-47:11. Those arguments challenge a refusal to deal, not any
    tying arrangement. Google has therefore sought summary judgment as to any claim based on the
    restriction of Google Ads demand to AdX on the ground, among others, that Plaintiffs challenge a
    lawful refusal to deal with competitors. See Mem. of Law ISO Mot. for S.J. at 22-27.

                                                     27
Case 1:23-cv-00108-LMB-JFA Document 908-1 Filed 07/17/24 Page 33 of 35 PageID# 21490




    have failed to define a market in which advertisers purchasing ads, including through Google Ads,

    participate; 2) there is no tie between AdX and DFP in the real world and Plaintiffs’ tying claim is

    a duty-to-deal claim in disguise; and 3) all three conducts are lawful refusals to deal and product

    improvements. See Mem. of Law ISO Mot. for S.J. at 23-28, 28-30. But the Court need not agree

    with Google as to all three alleged forms of conduct being lawful in order for Simcoe’s opinions

    to be rendered irrelevant. Even if just one of alleged forms of conduct is lawful, Simcoe’s

    estimates of the but-for AdX revenue share must be excluded in full because those estimates are

    predicated upon a but-for world that removes lawful conduct.

            Where a “plaintiff’s expert’s damages study cannot segregate lawful from unlawful

    practices, then no damages may be awarded on the basis of that study.” Areeda & Hovenkamp,

    supra, ¶ 657b. This requirement, known as “disaggregation” of damages, id., follows from the

    “unremarkable premise” that a model purporting to serve as evidence of antitrust damages must

    measure only those damages attributable to unlawful practices. Comcast Corp. v. Behrend, 569

    U.S. 27, 35-38 (2013) (rejecting expert “methodology that identifies damages that are not the result

    of the wrong”); Marshfield Clinic, 152 F.3d at 593 (“Statistical studies that fail to correct for salient

    factors, not attributable to the defendant’s misconduct, that may have caused the harm of which

    the plaintiff is complaining do not provide a rational basis for a judgment.”); City of Rockford,

    2024 WL 1363544, at *6-9 (same).

    VI.     Simcoe’s Opinions Must Be Excluded In Whole If The Court Grants Google’s Motion
            to Exclude the Testimony of Dr. Robin Lee.

            Simcoe relies on Lee’s conclusions in forming the opinions on which his but-for world is

    predicated. See supra p. 3. An expert whose proffered testimony relies on another expert’s

    theories that have been or may be excluded as unreliable should also be excluded. See In re

    Cathode Ray Tube (CRT) Antitrust Litig., 2017 WL 10434367, at *2 (N.D. Cal. Jan. 23, 2017)


                                                       28
Case 1:23-cv-00108-LMB-JFA Document 908-1 Filed 07/17/24 Page 34 of 35 PageID# 21491




    (excluding damages expert opinion because it relied upon another expert’s unreliable overcharge

    estimates to calculate total damages); Kentucky Speedway, LLC v. Nat’l Ass’n of Stock Car Auto

    Racing, Inc., 588 F.3d 908, 919 (6th Cir. 2009) (excluding plaintiff’s expert’s opinion regarding

    defendant’s alleged anticompetitive conduct because it was based on second expert’s market

    analysis which the court had found to be unreliable); Sims v. Kia Motors of America, Inc., 839

    F.3d 393, 404-06 (5th Cir. 2016) (same).

           Google has concurrently moved to exclude Lee’s opinions on market definition and market

    power that Simcoe incorporates as inputs into his own opinion and upon which Simcoe’s but-for

    world is predicated. See Mem. of Law ISO Mot. to Exclude Lee at 14-30. To the extent that the

    Court excludes those opinions, the Court must also exclude all of Simcoe’s opinions, as his but-

    for world relies upon Lee’s opinions regarding the relevant antitrust markets and Google’s alleged

    market power in those markets.

                                            CONCLUSION

           For the above reasons, all of the opinions of Dr. Timothy Simcoe should be excluded.




                                                   29
Case 1:23-cv-00108-LMB-JFA Document 908-1 Filed 07/17/24 Page 35 of 35 PageID# 21492




     Dated: April 26, 2024              Respectfully submitted,

     Eric Mahr (pro hac vice)           /s/ Craig C. Reilly
     Andrew Ewalt (pro hac vice)        Craig C. Reilly (VSB # 20942)
     Julie Elmer (pro hac vice)         THE LAW OFFICE OF
     Lauren Kaplin (pro hac vice)       CRAIG C. REILLY, ESQ.
     Scott A. Eisman (pro hac vice)     209 Madison Street, Suite 501
     Jeanette Bayoumi (pro hac vice)    Alexandria, VA 22314
     Claire Leonard (pro hac vice)      Telephone: (703) 549-5354
     Sara Salem (pro hac vice)          Facsimile: (703) 549-5355
     Tyler Garrett (VSB # 94759)        craig.reilly@ccreillylaw.com
     FRESHFIELDS BRUCKHAUS
     DERINGER US LLP                    Karen L. Dunn (pro hac vice)
     700 13th Street, NW, 10th Floor    Jeannie S. Rhee (pro hac vice)
     Washington, DC 20005               William A. Isaacson (pro hac vice)
     Telephone: (202) 777-4500          Joseph Bial (pro hac vice)
     Facsimile: (202) 777-4555          Amy J. Mauser (pro hac vice)
     eric.mahr@freshfields.com          Martha L. Goodman (pro hac vice)
                                        Bryon P. Becker (VSB #93384)
     Daniel Bitton (pro hac vice)       Erica Spevack (pro hac vice)
     AXINN, VELTROP & HARKRIDER         PAUL, WEISS, RIFKIND, WHARTON &
     LLP                                GARRISON LLP
     55 2nd Street                      2001 K Street, NW
     San Francisco, CA 94105            Washington, DC 20006-1047
     Telephone: (415) 490-2000          Telephone: (202) 223-7300
     Facsimile: (415) 490-2001          Facsimile (202) 223-7420
     dbitton@axinn.com                  kdunn@paulweiss.com

     Bradley Justus (VSB # 80533)       Meredith Dearborn (pro hac vice)
     AXINN, VELTROP & HARKRIDER         PAUL, WEISS, RIFKIND, WHARTON &
     LLP                                GARRISON LLP
     1901 L Street, NW                  535 Mission Street, 24th Floor
     Washington, DC 20036               San Francisco, CA 94105
     Telephone: (202) 912-4700          Telephone: (628) 432-5100
     Facsimile: (202) 912-4701          Facsimile: (202) 330-5908
     bjustus@axinn.com                  mdearborn@paulweiss.com

                                        Erin J. Morgan (pro hac vice)
                                        PAUL, WEISS, RIFKIND, WHARTON &
                                        GARRISON LLP
     Counsel for Defendant Google LLC   1285 Avenue of the Americas
                                        New York, NY 10019-6064
                                        Telephone: (212) 373-3387
                                        Facsimile: (212) 492-0387
                                        ejmorgan@paulweiss.com



                                         30
